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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT CQUBT 25 a
for the KOULS DST RIOT COURT
Central District of California

 

 

 

 

United States of America )
Vv. )
AMAN MEHNDIRATTA, ) Case No.
and AMAN KHEIRA
C : . ‘ al
LO WJOO5 55
Defendant(s) -
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of _November 2015 to February 2018 in the county of Orange and San Luis Obispo in the

 

Central District of California , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § § 1343, 2 Wire Fraud, Aiding and Abetting and Causing an Act to be done

This criminal complaint is based on these facts:

Please see attached affidavit.

 

 

CO Continued on,the attached sheet. ; f
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| i \
Complainant's signature
(2
ad | Benjamin Platts, Special Agent
: J |

 

Printed name and title

Date: oS

 

° Judge's signature

City and state: Los Angeles, California PAUL L. ABRAMS, United States Magistrate Judge

Printed name and title

 
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AFFIDAVIT

I, Benjamin Platts, being duly sworn, declare and state as

follows:
I. INTRODUCTION
1. I am a Special Agent (“SA”) with the Federal Bureau of
Investigation (“FBI”), and have been so employed since August

2016. I am currently assigned to the Los Angeles Division’s
Santa Maria Resident Agency. My responsibilities include
conducting investigations of complex financial crimes, including
bank fraud, money laundering, embezzlement, mortgage fraud,
mail/wire fraud, bankruptcy fraud, and identity theft. I
completed a twenty-two week basic field training course at the
FBI Academy in Quantico, Virginia. That course contained over
800 hours of training, including training on conducting
investigations of financial and cyber-based offenses. I have
also attended specialized training that includes the FBI Complex
Financial Crimes Conference. Since becoming a Special Agent, I
have been responsible for and have actively participated in
numerous white collar ‘investigations, and, in so doing, have
used a variety of investigative techniques, including
interviewing witnesses and targets of the investigation, serving
subpoenas and analyzing the documents obtained thereby,
preparing and executing search warrants, analyzing financial
records and public records, and conducting surveillance, among
others. Prior to becoming an FBI Special Agent, I worked as a

Police Officer for the City of Northglenn, Colorado, for

 
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approximately five and a half years and, in that capacity,
investigated numerous complaints of financial crimes.

IL. PURPOSE OF AFFIDAVIT

 

2. This affidavit is made in support of a criminal
complaint against, and arrest warrants for, AMAN MEHNDIRATTA
(“MEHNDIRATTA’) (born in Gurgaon, India on January 19, 1989) and
AMAN KHEIRA (“KHEIRA”) (place and date of birth currently
“unknown) for a violation of Title 18, United States Code,
Sections 1343, 2 (Wire Fraud).

3. The facts set forth in this affidavit are based upon
my personal observations, my training and experience, and
information obtained from various law enforcement personnel and
witnesses. This affidavit is intended to show merely that there
is sufficient probable cause for the requested complaint and
warrants and does not purport to set forth all of my knowledge
of, or investigation into, this matter. Unless specifically
indicated otherwise, all. conversations and statements described
in this affidavit are related in substance and in part only.

Tit. STATEMENT OF PROBABLE CAUSE

A. Ygchnical-Support Fraud Schemes

A. Based upon my training and experience and my
discussions with other FBI SAs and law enforcement officials, I
am aware of a common type of telemarketing fraud called a
technical-support fraud scheme. In such a scheme,
telemarketers, often based in other countries, make contact with
consumers either by cold-calling them or by using pop-up

internet messages disguised as security alerts on computers or

 
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other electronic devices that direct consumers to immediately
call a telephone number to protect their computer or other
electronic device. The pop-ups and telemarketers falsely claim
that a virus has infected the consumer’s computer or that
hackers are infiltrating the consumer’s computer. Telemarketers
often falsely claim to work for or be affiliated with large,
well-known technology companies.

5. Based upon my training and experience and my
discussions with other FBI SAs and law enforcement officials, I
know that, regardless of the initial method of contacting a
consumer, technical-support fraud schemes proceed similarly once
a telemarketer working in connection with a scheme has the
consumer on the phone. Emphasizing the need for immediate
action, the telemarketer falsely claims that he or she can
assist the consumer in fixing the virus or hacking infiltration,
but first needs remote access to the consumer’s computer. Once
remotely connected, the telemarketer falsely purports to confirm
the existence of a serious computer virus or other threat to the
consumer’s device, sometimes claiming that a hacker can or will
goon be able to access the consumer’s personal information,
including financial account numbers, social security numbers,
and passwords. Imparting a sense of urgency, the telemarketer
then claims that he will install expensive and high-quality
network security software to resolve the threat in exchange for
a substantial sum of money. In reality, if the telemarketer
installs anything, it typically consists of software available

for free online.

 
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6. After the telemarketer falsely purports to have
installed high-quality network security software, he instructs
the consumer to pay by check, wire transfer, or credit card.
The cost to the consumer ranges from several hundred to
thousands of dollars.

7. Based upon my training and experience and my
discussions with other FBI SAs and law enforcement officials, I
know that, at times during most schemes, consumers who have
already paid once for purported technical support receive
subsequent calls from telemarketers working for the scheme,
during which calls the telemarketers concoct new phony reasons
why the consumer must purchase additional security software to

avoid a new serious computer virus or other threat to the

consumer’s device.

B. Evidence that MEHNDIRATTA and KHEIRA have Engaged in a
Technical-Support Fraud Scheme
1. Overview

8. Based on interviews of witnesses, discussions with

other law enforcement agents and my examination of various
reports and records, I have learned that MEHNDIRATTA and KHEIRA
participated in a technical-support fraud scheme using the
services of a United States resident named Parmjit Brar
(“Brar”). Brar received victim payments and transmitted the
payments, less the amount Brar kept for his efforts, to
MFHNDIRATTA and KHEIRA. As directed by MEHNDIRATTA and KHETRA,

Brar received technical-support fraud victim payments in the

 
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names of two California entities, Avangatee Services, LLC,
(“Avangatee”) and Genius Technologies, LLC (“Genius”).
72. Victim R.G.
9. On October 18, 2017; October 30, 2017; and December
13, 2017, I interviewed R.G., a 74-year-old man residing in
Nipomo, within the Central District of California. R.G. told me
the following:

a. R.G. is a widowed retiree who lives by himself
and does not have children.

b. In November 2015, R.G. received an unsolicited
telephone call from a male who R.G. believed spoke with an
“Indian” accent. The caller identified himself as “John Watson”
(“Watson”). Watson told R.G. that R.G’s computer had been
hacked and that R.G. needed to install updated security software
on the computer. On February 27, 2019, I interviewed FBI SA
Dieter Willkomm, an FBI certified Computer Analysis Response
Team examiner. SA Willkomm advised, based on his training and
experience, that it was highly unlikely that a telemarketer in
India (or anywhere else) with no prior connection to a United
States consumer could know that the consumer’s computer had been
subject to a virus or hacking attack.

c. R.G. allowed Watson to access his computer via a
remote login connection. Watson pointed to purported evidence
on R.G.’s computer that showed “evidence of hacking” on his
computer. Watson showed R.G., who says that he is not at all
technologically savvy, retail prices for virus products that

ranged between $50,000 and $150,000. Based upon these

 
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comparisons, R.G. believed that the price Watson was charging
for security software was a good deal. Based on my training and
experience, I know that there are no legitimate individual
consumer virus protection programs that cost even close to the
amounts quoted by Watson.

d. That same day, R.G., as directed by Watson,
mailed from Nipomo a $12,000 check to a post office box in San
Leandro, California, for the purpose of purchasing a “Dell
Firewall.” In the following months, Watson, representing
himself to be working for Avangatee, continued to contact R.G.
through calls or e-mails to solicit additional funds for
purported computer security. R.G. sent from Nipomo to the same
San Leandro post office box a number of checks made payable to,
and wires for the benefit of, Avangatee purportedly for upgraded
security software, new security certificates, and “lifetime
security.” At one point, R.G. contacted Watson because he
believed the security icons were no longer on his computer.
Watson told R.G. that hackers had accessed his computer and
wiped out the “security.” Watson further said that the license
for the security software was for one usé only so R.G.’s
computer was no longer protected. Watson instructed R.G. to
gend $63,000 via wire transfer to pay for a new license for the
security software.

e. Between November 21, 2015, and September 22,
2017, R.G. mailed from Nipomo checks totaling approximately
$144,700, made payable to Avangatee at the San Leandro post

office box. Between September 5, 2017, and October 3, 2017,

 
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R.G. originated 13 wire transfers from Nipomo totaling
approximately $333,999 to various beneficiary accéunts located
outside of California at the direction of Watson. For example,
on or about September 22, 2017, Watson instructed R.G. to send
$16,000 to pay for the technical support services that he was
purportedly providing through Avangatee. Based on this
instruction, R.G. caused $16,000 to be wired from Bank of
America, N.A., account number XXXX-XXXX-2877, in Nipoti6 “to Axis.
Bank Limited account number XXXX-XXXX-XXX-7563, in New Delhi,
India, for the benefit of MEAC Solutions.?

£. On October 27, 2017, R.G. called Watson and cola
him he wanted a refund because his computer files had still not
been restored as promised. After some back-and-forth between
R.G. and Watson, Watson said he would secure a refund for R.G.
However, Watson said that his company had a policy of not
allowing a refund check to be issued for under $520,000.
Therefore, Watson told R.G. to send Avangatee an additional
$160,000, which would bring the total amount paid by R.G. to
$521,000. Watson reiterated that R.G. would not receive a
refund if he did not first send the $160,000 to Avangatee. R.G.
received a “written agreement” from Watson via the Notepad
application on his computer.

g. I have reviewed the agreement received by R.G. as
described in subparagraph (f), above. The agreement had

numerous misspellings and grammatical errors, but stated that,

 

1 As explained in paragraph 11(f) and footnote 2, below, I
believe that MEAC Solutions is a company controlled by
MEHNDIRATTA.

 

 
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once Avangatee received $160,000, it would send R.G. a check for
$561,000. As of my last interview with R.G. on December 13,
2017, he had still not received any refund from Watson or
Avangatee.

h. At the close of the interview on December 13,
2017, I asked R.G. to inform me of any further developments
regarding these matters, including any interactions with Watson

Pn

or related parties. To date, R.Gé*has not informed me of any

  

subsequent contacts.

3. Victim S.K.

10. I have reviewed information regarding an interview by
FBI SAs of C.K., who is S.K.’s sister, and bank account records
for §.K., Avangatee and Genius, through which I have been
informed of the following:

a. S.K. ig a 68-year-old man residing in Hawaii.
S.K. suffers from dementia.

b. S.K. provided approximately $356,000 to Avangatee
and Genius via checks and wire transfers. S.K. made the
payments at the direction of representatives of Avangatee and
Genius, and the payments were made for services that purportedly
would “fix” and “protect” S.K.’s computer. For example, on
January 10, 2016, S.K. mailed a $14,990 check made payable to
Avangatee to the same San Leandro post office box referenced in
paragraph 9(d) above. The check was deposited into an Avangatee
bank account. On August 5, 2016, §.K. mailed another check for

$24,999 made payable to Avangatee to the same San Leandro post

 
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office box. The check was deposited into another Avangatee bank

account.

4. MEHNDIRATTA and KHEIRA Control Avangatee and
Genius

11. On April 11, 2018, and again on January 10, 2019,
another FBI SA and I interviewed Brar. Brar provided the
following information about his interactions with MEHNDIRATTA
and KHETRA :

a. Brar explained that he founded Avangatee and
Genius at the direction of KHEIRA (spelled “Khaire” by Brar in
his April 11, 2018, interview but identified as KHETRA by Brar
on January 10, 2019. Brar stated that “Khaire” and “Kheira” are
the same individual) and MEHNDIRATTA.

b. According to Brar, in 2015, Brar’s nephew had
placed him in contact with KHEIRA, MEHNDIRATTA, and one other
individual, who were looking for a United States citizen to help
them operate a technical-support business with customers in the
United States. Based on my training and experience, and my
conversations with other law enforcement agents, I know that
individuals located in foreign countries who are perpetrating
schemes to defraud United States residents often set* p shell
companies in the United States to falsely assure prospective
victims that they are doing business with United States
companies subject to United States laws and other consumer -
protections.

c. Brar initially spoke with KHEIRA about the

business opportunity, and KHEIRA referred Brar to MEHNDIRATTA to
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address questions about taxation and mailing logistics. In
their conversation, MEHNDIRATTA told Brar that India would take
care of the taxes involved in the business opportunity and
Brar's only job would be to keep his $4,000 per month and send
the rest of the monies received to India.

a. Brar understood from MEHNDIRATTA and KHEIRA that
there were other people and companies in the United States
serving the game role as Brar, that is, they were receiving
customer funds and forwarding them to MEHNDIRATTA and KHEIRA in
India.

e. KHETRA and MEHNDIRATTA advised Brar that they
needed his credit card information to pay approximately $400 in
business startup fees. Throughout the scheme, Brar spoke with
and received instructions from both MEHNDIRATTA and KHEIRA.
Based on conversations he had with them, he understood that
MEHNDIRATTA was the boss of the operation.

£. Brar stated that Avangatee was the first business
established through his engagement with MEHNDIRATTA and KHEIRA.
Brar explained that, after Avangatee was established, he began
receiving payments from individuals across the United States in
wide-ranging amounts. Brar further stated that he was
instructed by MEHNDIRATTA and KHEIRA to wire the monies to
companies registered to and controlled by MEHNDIRATTA. Three

such companies were Prime Tech Solutions, Ltd.; Marvel Corporate

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Services; and Genius Technologies, Ltd.? Brar performed no
activities in connection with the purported underlying computer
technical support services business of Avangatee and was not
aware of any other operations that Avangatee maintained in the
United States.

gq. Although Brar initially wired the funds to
MEHNDIRATTA’s companies, he later provided MEHNDIRATTA an on-
line codé to atcess the funds directly from Brar’s account in
the United States. Brar also advised that MEHNDIRATTA and
KHEIRA had access to his online bank accounts, pin numbers, and
certain e-mail accounts. Brar understood that most of the funds
that he sent or made available to MEHNDIRATTA were received in
India, although some of the funds also went to Singapore and
Hong Kong. MEHNDIRATTA told Brar that funds were being sent to
countries other than India for taxation reasons. |

h. Brar communicated with MEHNDIRATTA and KHEIRA by
cellular telephone, but his primary method of communication with
them was via the WhatsApp mobile online messaging application.
Brar regularly received wiring amount instructions and exchanged

‘bank remittance codes via WhatsApp with MEHNDIRATTA and KHEIRA.

1. MEHNDIRATTA instructed Brar to also pay KHETRA a
monthly finder’s fee of $1,000. MEHNDIRATTA told Brar that if
he paid this fee to KHEIRA, MEHNDIRATTA would increase Brar’s

compensation to $2,000 per week ($8,000 per month). Brar agreed

 

2 Based on my training and experience, I believe that MEAC
Solutions, to which R.G. was instructed to send funds for the
technology-support services purportedly being provided by
Avangatee (see paragraph 9(e), above), was also a company
controlled by MEHNDIRATTA.

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and began paying KHEIRA $1,000 per month via Western Union
transmissions under different names. The different names were
provided by KHEIRA each month prior to receiving the $1,000
finder’s fee.

j. As the business progressed, Brar demanded $4,500
per week because of the volume of money he was receiving and
transmitting to MEHNDIRATTA’s companies. Brar received this
increase and began receiving $4,500 per week. When this
occurred, KHEIRA demanded an increase of his monthly finder’s
fee payment to $1,200.

k. At one point, a lawyer from a company with a name
that was similar to Avangatee sent a cease and desist letter
regarding use of the Avangatee name. I have seen a copy of this
letter, which is dated November 2015. The letter stated that
Avangatee was committing trademark infringement. It also stated
that Avangatee offered “sham technical support services with the
intent to extort money from individuals for the repair of
allegedly damaged computers.”

1. Brar informed MEHNDIRATTA and KHEIRA of the

instructed him to close the company and its

    

letter, and they

website, and said that he should use another company instead. A
new company - Genius - was created and Brar began receiving
payments in the name of Genius from victims. He handled these
in the same way as he handled the payments for Avangatee —
depositing them, keeping his commission, and forwarding the rest

to MEHNDIRATTA and KHEIRA.

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m™m. Brar stated that, whenever he received a
complaint about the business, he would consult with either
MEHNDIRATTA or KHEIRA and that they would then provide him with
instructions via WhatsApp. Some of these complaints came
directly from consumers and some came from state Attorneys
General.

n. In 2016, Brar arranged to travel to India for
personal reasons and asked MEHNDIRATTA and KHEIRA to visit their
office. Brar anticipated meeting with MEHNDIRATTA, KHEIRA, and
a third individual at their office but, instead, all three met
him at the airport. The men advised that they would bring Brar
by the office before his trip ended, but when Brar attempted to
gee the office before departing, KHEIRA told Brar that
MEHNDIRATTA was out of the area so it was not going to happen.

oO. During his interview, Brar stated that he had
found a reference on the internet to a case against MEHNDIRATTA
and Linda Massey. Brar recalled that the case was a 2017 civil
case. T believe Brar is mistaken about certain details because,
on February 21, 2019, I performed internet searches for
MEHNDIRATTA and Massey and came across articles from 2016, not
2017, referencing a criminal, not civil, case against

MEHNDIRATTA and Massey.?

 

3 Brar was likely referring to United States v. Mehndiratta
and Massey, 8:16-cr-50-BHH (D.S.C.), a criminal case from 2016.
T have reviewed the docket for this federal criminal case filed
in South Carolina, and have learned the following: On January
12, 2016, an indictment was returned charging AMAN MEHNDIRATTA
and Linda B. Massey (“Massey”) with money laundering conspiracy,

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Pp. Brar stated that, according to what he saw on the
internet? Linda Massey was similar to Brar in the business she
operated and the relationship she had with MEHNDIRATTA.

q.- Upon seeing references to the case against
MEHNDIRATTA, Brar questioned KHEIRA about the case, and KHETIRA
advised that he knew about it, but everything related to the
case had been resolved. Based on my review of the docket for
the criminal case,. as discussed in footnote 3, above, I-
understand that the criminal case against MEHNDIRATTA remains
open and unresolved.

Yr. Brar stated that, at the end of 2017, he decided

to end his relationship with KHEIRA and MEHNDIRATTA.

 

in violation of 18 U.S.C. § 1956(h). The indictment alleges, as
part of the manner and means of the conspiracy, that:

MEHNDIRATTA and/or other unidentified coconspirators
operating at his direction would contact victims either
telephonically or through the internet. The victims are
falsely informed that their computers have been infected by
malicious software and that the unidentified coconspirator
needs to gain access to the computers to confirm the
infection. The unidentified conspirator is granted
computer access and then places a number of
unwanted/useless software programs on the victims’

- computers. The unidentified coconspirator then solicits
payment for the software and subsequent computer monitoring
that is mailed to an address under the custody and control

of [Massey].

Upon receipt of the checks from the victims [Massey]
deposits them in the bank.

The money received from the victims, less the amount kept
by [Massey] for her efforts, is then wired to MEHNDIRATTA.

In May 2016, Massey pleaded guilty to count two of the
indictment, which charged her with engaging in an unregistered
money transmitting business, in violation of 18 U.S.C.

§ 1960(a), and was sentenced to six months in prison.
MEHNDIRATTA has never appeared to answer the charges.

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IV. CONCLUSION
12. For all the reasons described above, there is probable
cause to believe that AMAN MEHNDIRATTA and AMAN KHEIRA have
participated in a scheme to defraud and to obtain money and
property by means of false and fraudulent pretenses,
representations and promises, and have used and caused to be
used wirings in interstate and foreign commerce to carry out an

essential part of the scheme, thereby committing a violation of

18 U.S.C. §§ 1343, 2.

Benjamin Platts,’ Special Agent

Federal Bureau of
Investigation

Subscribed to and sworn before me
this S day of March, 2019.

 

HONORABLE PAUL L. ABRAMS
UNITED STATES MAGISTRATE JUDGE

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